Case o-25-/2014-reg Vocl FiledO//lofzZo Entered O//ilof/2s Osio4iasl

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United States Bankruptcy Court for the:

 

 

 

Eastern District of New York
(State) |
Case number (if known): Chapter 7 L) Check if this is an
i amended filing
Official Form 201. , 4

a4.
Voluntary Petition for Mon-Individuals Filing for Bankruptcy 04/16

If more space is needed, attach a separate sheet » is form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a sep document, Instructions for Bankruptcy Forms for Non-Indi\iduals, is available.

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1. Debtor’s name ANDRE AUDIGE

 

2. All other names debtor used
in the last 8 years

 

 

 

Include any assumed names,
trade names, and doing business
as names

 

 

3. Debtor’s federal Employer 84.18 21578
Identification Number (EIN) —_—

 

¢

 

 

 

 

4. Debtor’s address Princip | place of business Mailing address, if different from principal place
a of business
“t
19 SHARON DRIVE
Number Sureet Number Street
x
P.O. Box
CORAM NY 11737
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

SUFFOLK
County

 

 

Number Street

 

 

City State ZIP Code

 

5. Debtor’s website (URL)

 

 

Q) Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Part ership (excluding LLP)
Mf othe...spaity:_SOLE PROPRIETOR

6. Type of debtor

 

 

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Case o-25-/24014-reg Vocl FiledO//lofzZo Entered Os//ilof/2s Osio4ial

Debtor ANDRE AUDIGE

Case number (if known),

 

Name

 

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

 

 

A. Check aac‘:

Q sca Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Agéet Real Estate (as defined in 11 U.S.C. § 101(51B))
CJ Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q) Clearing Bank (as defined in 11 U.S.C. § 781(3))
4 None of the above

B. Check all that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

C) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

J} Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

a

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http /Awww.naics.com/search/ .

S 3d 1

4 .. .
Check one:
a chant
Q) chan
UO) Chapte ®.:. Check all that apply.

¥ Q) Debtor's aggregate noncontingent liquidated debts (excludirig debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

C) The debtor is a small business debtor as defined in 11 U.S.0. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

QA plan is being filed with this petition.

Q) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

U) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

U) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

 

 

 

 

12b-2.
Q) Che ter 12
. “t
UC) No ye
Cves. Bre Eastern when 12/16/2019 Case number _8-19-78513
t,° MM / DD/YYYY
ie When Case number
?. MM/ DD/YYYY
W No
UL) Yes. Debtor Relationship
District When

 

MM / DD /YYYY
Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case o-25-/24014-reg Vocl FiledO//lofZo Entered O//ilof2s Osio4ia/l

Debtor ANDRE AUDIGE

Case number (if known).

 

Name

 

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

BR six:istica and administrative laton

13. Debtor’s estimation of
available funds

 

14. Estimated number of
creditors

15. Estimated assets

Official Form 201

 

Check all that apply:

4 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 1&0 days than in any other
district.

QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

(

WI No

C) Yes Answer below for each property that needs immediate attention. Attack additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)

Oh poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
i

 

i" is the hazard?

#. needs to be physically secured or protected from the weather.

CJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

(J Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

LI No

C) Yes. Insurance agency

 

‘ Contact name
Mi

ih Phone
‘3

 

 

 

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Check one:

(J Funds will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be available for dis‘ribution to unsecured creditors.

 

 

 

Wh 1-49 CJ 1,000-5,000 () 25,001-50,000
LJ 50-99 (J 5,001-10,000 L) 50,001-100,000
LJ 100-199 CJ 10,001-25,000 (J More than 100,000
LJ 200-999
CJ $0-$50,000 CL) $1,000,001-$10 million CJ $500,000,001-$1 billion
L) $50,001-$100,000 CJ $10,000,001-$50 million CL) $1,000,000,001-$10 billion
CJ $100,001-$500,000 CJ $50,000,001-$100 million LJ $10,000,000,001-$50 billion
W $500,001-$1 million LJ $100,000,001-$500 million (J More than $50 billion
“
Voluyitat y Petition for Non-Individuals Filing for Bankruptcy page 3

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Case o-25-/24014-reg Vocl FiledO//lofzZo Entered O//ilof/2s Osio4iasl

 

 

 

 

Debtor 5 ANDRE AUDIGE Case number (if known)
oo Q) $0-s50‘oc 0 Q) $1,000,001-$10 million Q) $500,000,001-$1 billion
16. Estimated liabilities OQ) $50,004%¢ 100,000 Q $10,000,001-$50 million QO $1,000,000,001-$10 billion
Q) $100,¢e¢500,000 LJ $50,000,001-$100 million L) $10,000,000,001-$50 billion
wi oe million (J $100,000,001-$500 million CJ More than $50 billion

 

Le a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

<3

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

 
 
  

 

   
   

 

 

 

 

 

debtor petition.
| have been authorized to file this petition on behalf of the debtor.
a | have examined the information in this petition and have a reasonable belies that the information is true and
correct.
| declare under penalty of perjury that the foregoing is true and correct.
Executed cff 07/13/2023
a MM /DD /YYYY
x NDRE AUDIGE
Signatu, be uthorized representative of debtor Printed name
Title es proprietor
¥
. Signature of attorn
18. Signature of attorney x ete
Signature of attorney for debtor MM /DD/YYYY

 

Printed name

 

 

 

 

Firm name

Number Street

City State ZIF Code
Coni ct phyae Email address

#

 

State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK.

IN RE: )

ANDRE AUDIGE Chapter 7

)
)
Debtor . )
)

 

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CORPORATE DISCLOSURE STATEMENT

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od

Wb
The undersigned hereby cert s that debtor is a non-governmental corporate entity and does
not have a parent corporation, ¥ there any publicly held corporation that owns 10% or more

of this party’s stock.

Dated: July 13, 2023

Andre Audige “

Sole Proprietor for ANDRE AUDIGE
Case o-25-/24014-reg Vocl FiledO//lofzZo Entered O//ilof/2s Osio4ia sl

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK.

IN RE: )

ANDRE AUDIGE ie
a4

Debtor . K
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Chapter 7

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)

 

CORPORATE OWNERSHIP STATEMENT PURSUANT TO FRBP 1007(a)()and
7007.1, and LBR 1007-4

1 am the sole proprietor/owner of the sole proprietorship ANDRE AUDIGE and I have
personal knowledge of the matters set forth in this Statement.

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a
governmental unit, that is a debtor in a voluntary case or a party to an adversary
proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that
directly or indirectly own 10% or more of any class of the corporation’s equity interest,
or state that there are no en‘ ties to report.

Me as
x There are no corpgvations that directly owns 10% or more of any class of
debtor’s equity interest:

The following corfation directly or indirectly own 10% or more of a class
of the debtor’s equity interest:

 

 

 

 

 

1. N/A
2s N/A
3. N/A

 

 

 
  

Name: Andre Audige , Owner/S¢ele Proprietor
Address: 19 Sharon Drive, Coram, NY 11727
Phone: 516-729-6667
E-mail:

 
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IN THE UNETED STATES BANKRUPTCY COURT
FOR THE HASTERN DISTRICT OF NEW YORK.

IN RE: ¥ )

ANDRE AUDIGE Chapter 7

Debtor .

 

CERTIFICATION OF CORPORATE RESOLUTION
AUTHORIZING FILING OF CHAPTER 7 PETITION

I, Andre Audige, Owner/Sole Proprietor, existing under the laws of New York and having its
principal place of business at 19 Sharon Drive, Coram, NY 11727, hereby certify that the following is
a true copy of a resolution adopted, it’ accordance and by the ANDRE AUDIGE Sole Proprietorship
authority to file for bankruptcy ans/'efend any and all actions affecting the Sole Proprietorship’s
interest, business or property or ta* action in the interest of its’s owner including executing and
assuming all property interest, claig¥} defenses and liens either in the name of the Sole proprietorship
or in the owner’s name.

      
 

RESOLVED: That the Sole Proprietorship approves the filing of the Chapter 7 petition as was or
will be submitted to the United Bankruptcy Court eastern district of New York;

RESOLVED: That the Owner of the Sole Proprietorship is hereby authorized to sign on behalf of
the Sole Proprietorship any schedules and forms;

RESOLVED FURTHER: That the owner is hereby authorized and directed to certify to any
interested party that this resolution has been duly adopted, is in full force and effect and is in
accordance with the provisions under the ANDRE AUDIGE Sole Proprietorship
I further certify that this Sole Proprietorship is existing, and has the powers to take the action called for
by the following resolution.

   

Andre Audige Owner/Sole

Witness my hand Seal of this Propreitroship
Onthis 13 dayof  July_, 2023
Case€ 0-290-/2014-reg - Lt Filed O/f/ilsfes Entered Ofiloizo O9io4iaf

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Deen eee eee eee ease nese eee season nanan XxX
In Re:

 

Case No:

ANDRE AUDIGE

more rene nen ee rane neem enna mannan wn nnennennnnnnennanmnnnnnnn x Chapter 7

VERIFICATION @ CREDITOR MATRIX / LIST OF CREDITORS

;

The undersigned debtor hereby verifies that the creditor matrix/list of creditors presented herein
is true and correct to the best of my knowledge.

Dated: 7//13/2023
Central Islip , New York

, Accal o Acclye

ANDRE AUDIGE- Sole Pee
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Wells Fargo Bank National Association As

Trustee For Securitiezed Asset Backed Receivables
Llc Trust 2005-op1', Mortgage Pass-Through
Certificates, Series. 2006-OP1

C/O RAS Boriskin LLC . &#

900 Merchants Concourse:

Westbury, NY 11590

Ocwen Loan Servicing
1661 Worthington Road, Suite 100
West Palm Beach, Fl 33409

PHH Mortgage Services
1 Mortgage Way
Mt. Laurel, NJ 08054

Louis C. England, Esq.-referee
2556 Middle Country Rd.
Centereach, NY 11720

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